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ll\l THE UN]TED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DlSTRlCT OF lLl_lNOlS

ALVlON PROPERTIES, lNC. Chapter 41

)
, ) _
Debtor. ) CASE NO. 15~40462
)
OBJECTlON TO MOTiON TO DETERM|NE THAT DEBTOR’S PROPERT¥ lS A
SINGLE ASSET R_E_AL ESTATE

Now comes the Det)tor, Alvion Properties, lnc., by its attorney, and states the
following in support of its objection:

'l. On l\/lay 14, 2015 Debtor filed a petition herein under Chaptert‘l of the
Bankruptcy Code.

2. On Juiy.'15, 2015 Farmers State Bank of Alto Pass (Banl<) filed an
Amended l\/lotion to Determine that Debtor’s Property is a Single Asset Real Estate
pursuant to 11 USC 101(51)(b).

3. Debtor’s bankruptcy schedules Were filed on lVlay 14, 2015.

4. On Schedule A, the Debtor listed its real property Which consists of 4,513
acres of minerals and 1,295 acres owned fee simple (land) in Scott County, Virginia.

5. The Bank is a creditor by the reason of a promissory note executed on

October 20, 2007 in the principal amount of one million dollars ($1,000,000.00).

6. There is a dispute as to the extent of the Bank’s security interest in the
property
7. The Bank seeks to have the Debtor declared a “single asset real nestate"

pursuant to Bankruptcy Code §‘101(51)(b).

 

 

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8. The Bank seeks this ruling in order to determine whether the provisions of
11U80362(d)(3)appiy.
SENGLE ASSET REAL ESTATE §101 (51B)
9. The term single asset real estate is defined as:

The term “singie asset real estate” means real property constituting

asingle property or project, other than residentiai real property with fewer than 4
residential units, which generates substantially all of..the gross income of a debtor who
is not a family farmer and on which no substantiai business is being conducted by a
debtor other than the business of operating the real property and activities incidental. 11
U.S.C. §101(515).This is commonly referred to as a SARE.

10. Three requirements emerge from this definition which must all be met for a
debtor to be considered a SARE debtor: (1) the debtor must have real property
constituting a single property or project (other than residential real property with fewer
than 4 residential units), (2) which generates substantially ali of the gross income of the
debtor, and (3) on Which no substantial business is conducted other than the business
of operating the real property and activities incidentai thereto. lf a debtor fails to meet
any prong, it is not a SARE. ln re Scotia Pac. Co., LLC, 508 F.3d 214, 220 (5th Cir.

2007)
Prond One _Real property constituting a single property or proiect.

11. The Debtor owns 1,294 acres of land in Scott County, Virginia. The Debtor
aiso owns the mineral rights to that real estate.

12. The Debtor also owns an additional 3,219 acres of mineral rights in

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addition to the mineral`rights the Debtor_ owns on the land as referenced above

13. Clearly, these are two separate properties

14. The properties do not constitute a single project

15. As discussed brieny at the creditor meeting, the Debtor is moving forward
on granting a conservation easement on _s_M ofthe property

16. The Debtor representative also testified that the property has significant,
valuabie coal veins that the Debtor further stated already has a iicense to mine the coal.

17. The Debtor aiso reported that the real property owned by the Debtor has
abundant timber and, in fact, timberfrom this property had been soid previousiy.

18. The Debtor will further testify that the property owned contains valuable
buiiding stone which can be sold at a considerable profit

19. t Based on ali the projects for these properties and that the properties are
not a single propertyl the Debtor has estabiished that prong one of the three required
prongs necessary to establish a SARE has not been met.

Prong two - Property generates substantiaily ail Debtor income

20. As stated above, there are two separate properties to generate different
types of income_

21. Presentiy the iJebtor is not generating income from the properties
Prong Three - On which no substantial business is conducted other than'the business of

operating the real property and activities incidental thereto.
22. Presently, no-substantial business is operated on the property other than

the operating of the real property

 

 

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DiSCUSSlON

The Debtor maintains that it is not a SARE as the first prong of the three part
test, single property or project, does-not factually apply to the Debtor. The application of
the three prong test to determine if the Debtor is A SARE should be narrowly defined to
avoid the broad application of 'single asset’ which provides an exception to the basic
protections afforded a Det)tor in a bankruptcy proceeding

"Section 101(51!3) severely limits the ciass of debtors which quaiify as SAREs,
and We. have no warrant to expand that definition SARE debtors are carved out and
subjected to stringent requirements in § 362(d)(3) which expedite the time for SARE
debtors to file a plan of reorganization or commence making monthly payments, failing
which the automatic stay is promptiy litted. See 11 U.S.C. § 362(d)(3). if Scopac is
considered a SARE debtor, this narrow-exception to the ordinary bankruptcy process
would sweep broadly and require us to include such entities as owners of land or
mineral interests who operate sophisticated businesses such as mining, oii and gas
driliing, and large commercial farms simply by virtue of the debtor owning the iand. Such

a resuit is obviously contrary to the plain language of § 101(51¥3).” in re Scotia F’ac. Co.

 

gag 503 F.sd 214, 225 (sth cir. 2007)_

The Bank bears the burden of proof to have the Debtor deciared a SARE. The
burden of proving that the properties are subject to the SARE provisions of the

Bankruptcy Code is on the moving party.... ln re Yishlam lnc., 495 B.R. 328, 330

 

(Bankr. S.D. Tex. 2013). The existence of mineral rights in addition to property owned
fee simpie has not been adequately rebutted by the Bank. in order for two or more

separate properties to constitute a “singie project” within the meaning of 11 U.S.C'. §
4

 

 

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101(51B), courts have generally determined that the`multiple parcels of real estate must

be purchased, developed, or sold pursuant to a “comrnon plan or scheme,” linked

 

together by “comrnon usage’_’ or in pursuit of a “cornmon purpose.” in re Yishlam lnc.,
495 B.R. 328, 331 (Bankr. S.D. Tex. 2013). Whether certain properties constitute a
single project is a factual inquiry. “[l]n order for two or more separate properties to
constitute a single project Within the meaning of Code §101(5113), the properties must
be linked together in some fashion in a common plan or scheme involving their use. l_n

re Hassen imports P'ship, 466 B.R. 492, 507 (Bankr. C.D. Cal. 2012).

The Bank requests a finding that the Debtor is a SARE in order for Code
§362(d)(3) to apply. The section is as follows:

(d) On request of a party in interest and after notice and a hearing, the
court shall grant relief from the stay provided under subsection (a) of this section,
, ,such as by terminating annulling, modifyingl or conditioning such stay_

(3) with respect to a stay of an act against single asset real estate under
subsection (a), by a creditor whose claim is secured by an interest in such real
estate, unless, not later than the date that is 90 days after the entry of_the order
for relief (or such later date as the court may determine for cause by order
entered within that 90-day period) or 30 days after the court determines that the
debtor is subject to this paragraph, whichever is later_ -

(A) the debtor has filed a plan of reorganization that has a reasonable possibility
of being confirmed within a reasonable time; or

(B) the debtor has commenced monthly payments that-

(i) may, in the debtor's sole discretion, notwithstanding section 363(c)(2), be
made from rents or other income generated before, on, or after the date of the
commencement of the case by or from the property to each creditor whose claim
is secured by.such real estate (other than a claim secured by a judgment lien or
by an unmatured statutory lien); and

(ii) are in an amount equal to interest at the then applicable nondefautt contract
rate of interest on the value of the creditor's interest in the real estate[.]

11 UiS.C. § 362(d)(3) (2005). To fall within the scope of § 362(d)(3), a debtor’s
assets must constitute single asset real estate as that term is defined by the
Bankruptcy Code.

ln re Webb lVlTl\i LLC, l\lo. 07-32016, 2008 WL 656271, (Bankr. E.D. Tenn. lvlar.
6, 2008)

 

 

 

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Although not currently pending as no motion for relief has been filed, the Bank
does not have an enforceable security interest in the real estate and ali mineral rights
The granting of relief from stay will first require to what extent the security interest exists
in the assets of the Debtor. Evidence Will be submitted by the Debtor supporting its

position that the bank does not have an enforceable security interest in the all the

properties

WHEREFORE, Debtor prays that the Bank’s iviotion to Determine that Debtors

Property is a Single Asset Real Estate be denied and for such further relief as the Court

deems just.

Al_\/lON PROPERTlES, lNC., DEBTOR

By /s/ Douglas A. Antonik
DOUGLAS A. ANTON|K
Registration #06190629

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CERTlFlC/-\TE OF SERVICE

The undersigned certifies that a copy of the foregoing instrument was served
upon:

l\/lark Skaggs, U.S. Trustees Office, 401 l\/iain Street, Suite 1100, Peoria,- ll_
61602 -

Ziemer, Stayrnan, Weitzel & Shoulders, l_l_P, Attn: Nick j. Cirignano, P.O. Box
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Joel A. Kunin, Esq., The Kunin Law Offices, LLC, 1606 Eastport Piaza Drive, Ste.
110, Coliinsville, lL 62234-6134

The Coffrnan l_aw Firm, Attn: Richard L. Coffman, 505 Orleans, Suite 505,
Beaumont, TX 77701

either electronically or by enclosing in an envelope With postage fully prepaid and by
depositing said envelope in a U. S. Post thce mail box in l\/lt. Vernon, lilinois, on the
23rd day of July, 2015. The above is true and correct to the best of the undersigned‘s
knowledge

/s/ 'Alisha Finke
Alisha Finke

